

E. 103 St. &amp; Lex. Ave. Realty Corp. v Moustache Inc. (2021 NY Slip Op 02242)





E. 103 St. &amp; Lex. Ave. Realty Corp. v Moustache Inc.


2021 NY Slip Op 02242


Decided on April 13, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 13, 2021

Before: Kapnick, J.P., Kern, Singh, Scarpulla, JJ. 


Index No. 650423/18 Appeal No. 13572N Case No. 2020-02579 

[*1]E. 103 St. &amp; Lex. Ave. Realty Corp., Plaintiff-Respondent,
vMoustache Inc. Also Known as Moustache Lex LLC , Defendant, Salam Al-Rawi, Defendant-Appellant.


Salam Al-Rawi, appellant pro se.



Order, Supreme Court, New York County (Arlene P. Bluth, J.), entered October 3, 2019, which denied the motion of defendant lease guarantor Salam Al-Rawi to vacate an order, entered on default, awarding plaintiff $62,490.19 in rental arrears, plus interest, costs and disbursements, unanimously affirmed, without costs.
Although defendant Al-Rawi presented a reasonable excuse for the default (see D &amp; W Constr. v Israel, 54 AD3d 889 [2d Dept 2008]), he failed to proffer a meritorious defense to the action (see Leader v Parkside Group, 174 AD3d 420 [1st Dept 2019], lv dismissed 33 NY3d 1111 [2019]). Al-Rawi acknowledged that Moustache defaulted on the lease agreement and, as its guarantor, he agreed to pay the amount sought through the April 2015 stipulation (see e.g. Chelsea 19 Assoc. v James, 67 AD3d 601, 602 [1st Dept 2009]). Moreover, the lease agreement provides that defendants were required to supply heat to the premises and were not entitled to any reimbursement for improvements or repairs they made on the premises, and that any fixtures or equipment left behind upon vacatur would be deemed abandoned. These lease terms contradict defendants' claims that plaintiff had failed to meet its obligations under the lease agreement.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 13, 2021








